Case 8:11-cv-02391-VMC-MAP Document 15 Filed 03/18/12 Page 1 of 1 PageID 61




                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA

JOSEPH RAETANO, individually,
                                                      Case No.: 8:11-cv-02391-VMC-MAP
               Plaintiff,
v.

GULF-FLA DOUGHNUTS HILLSBOROUGH,
INC., a Florida for profit corporation,

            Defendant.
________________________________________

                                  NOTICE OF SETTLEMENT

               Plaintiff, JOSEPH RAETANO, by and through the undersigned counsel, hereby gives

the Court notice that the parties have reached a settlement in this matter. The parties are finalizing

the settlement documents.

               Dated: March 16, 2012.

                                       Respectfully submitted,
                                       /s/ Barbra R. Joyner, Esq.
                                       Barbra R. Joyner, Esq.

                                   CERTIFICATE OF SERVICE
        I hereby certify that on March 16, 2012, I electronically filed the foregoing with the Clerk
of the Court by using the CM/ECF system. I further certify that I mailed the foregoing document
and the notice of electronic filing by first-class mail to the following non-CM/ECF participants:

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                                                      By: /s/ Barbra R. Joyner, Esq.
                                                         Barbra R. Joyner, Esq.
